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         ORDERED in the Southern District of Florida on March 16, 2023.



                                                                         Peter D. Russin, Judge
                                                                         United States Bankruptcy Court
_____________________________________________________________________________



                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                            FORT LAUDERDALE DIVISION
                                                 www.flsb.uscourts.gov

             In re:                                                              Chapter 11 Cases

             VITAL PHARMACEUTICALS, INC., et al.,                                Case No. 22-17842 (PDR)
                                                                                 (Jointly Administered)
                      Debtors.1
                                                                  /

             VITAL PHARMACEUTICALS, INC., et al.

                              Plaintiffs,
             v.

             JOHN H. OWOC and MEGAN E. OWOC,
                                                                                 Adv. Pro. No. 23-01051 (PDR)
                              Defendants.
                                                                  /



         1
             The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
             Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
             and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
             FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
             Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
             Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
             (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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    ORDER APPROVING STIPULATION REGARDING DEBTORS’ MOTION FOR
                  TEMPORARY RESTRAINING ORDER

       Upon consideration of the Stipulation Regarding Debtors’ Emergency Motion for

Temporary Restraining Order (the “Stipulation”) [ECF No. 9], a copy of which is attached hereto

as Exhibit 1, and the Court having jurisdiction to consider the Stipulation pursuant to 28 U.S.C.

§§ 157 and 1334; and good and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      The Stipulation, attached hereto as Exhibit 1, is APPROVED;

       2.      Defendants are prohibited from altering, amending, or deleting any and all postings

currently in place on the Instagram and TikTok accounts bearing the handle @bangenergy.ceo and

the Twitter account bearing the handle @BangEnergyCEO (“CEO Accounts”);

       3.      The Defendants are prohibited from posting any content or making any posts of

any kind to or from the CEO Accounts until forty-five (45) days after the date of this Order;

       4.      If the Debtors wish to post on the CEO Accounts concerning the Debtors’ products,

and such posts do not reference the Defendants, then Defendants will make such posts within nine

(9) business hours of receiving the Debtors’ request to do so;

       5.      The Parties will negotiate in good faith a briefing and expedited discovery schedule

on a motion for summary judgment to be filed by the Debtors and/or Defendants that will facilitate

a summary judgment hearing within 30 days of the filing of the parties’ summary judgment

motions;

       6.      By 5:00 p.m. (ET) on March 16, 2023, Defendants shall provide to the Court, under

seal, all passwords to the CEO Accounts, and Defendants are prohibited from any further changes

to the passwords to the CEO Accounts pending further order of the Court;




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       7.      In the event of an alleged violation of this Order, 24 hours’ notice of a hearing to

address such alleged violation shall be sufficient;

       8.      All rights of the Parties to seek or oppose further any relief in the Adversary

Proceeding are expressly reserved; and

       9.      The Court retains jurisdiction over this Order and the relief granted herein.

                                              #   #   #

Submitted by:
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Michael J. Niles, Esq.
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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                    EXHIBIT “1”
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                                Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                                  Case No. 22-17842 (PDR)
                                                                          (Jointly Administered)
             Debtors.1
                                                         /

    VITAL PHARMACEUTICALS, INC., et al.

                     Plaintiffs,

    v.

    JOHN H. OWOC and MEGAN E. OWOC,                                       Adv. Pro. No. 23-01051 (PDR)

                     Defendants.
                                                         /


             STIPULATION REGARDING DEBTORS’ MOTION FOR TEMPORARY
                              RESTRAINING ORDER

             WHEREAS, on March 14, 2023, Debtors Vital Pharmaceuticals, Inc., Bang Energy

Canada, Inc., JHO Intellectual Property Holdings, LLC, JHO Real Estate Investment, LLC, Quash

Seltzer, LLC, Rainbow Unicorn Bev LLC, and Vital Pharmaceuticals International Sales, Inc.

(collectively, the “Debtors”) in the above-captioned chapter 11 cases, initiated the above-captioned

adversary proceeding (the “Adversary Proceeding”).

             WHEREAS, contemporaneously with the filing of the Complaint [Adv. Proc. Docket No.



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    The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
    Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
    and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
    FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
    Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
    Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
    (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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1] in the Adversary Proceeding, the Debtors filed the Emergency Motion for Temporary

Restraining Order and Incorporated Memorandum of Law [Adv. Proc. Docket. No. 2] (the

“Motion”), along with alleged supporting evidence;

         WHEREAS, through the Motion, the Debtors seek entry of an order (a) prohibiting John

H. Owoc and Megan E. Owoc (collectively, “Defendants”) from accessing, using, deleting, or

modifying in any way the CEO Accounts (as defined in the Motion), and (b) compelling

Defendants to transfer exclusive control of the CEO Accounts over to the Debtors.

         WHEREAS, the Court noticed an evidentiary hearing regarding the Motion for March 16,

2023 [Adv. Proc. Docket No. 6].

         WHEREAS, the Defendants oppose the relief set forth in the Motion and Adversary

Proceeding;

         WHEREAS, the Parties have conferred concerning the Motion and the relief sought

therein, and have agreed to entry of an Order adjourning the March 16, 2023 hearing pursuant to

the terms herein.

         IT IS HEREBY STIPULATED AND AGREED by and between the Parties, subject to

the approval of the Court which the Parties agree to jointly seek, that:

         1.    Defendants are prohibited from altering, amending, or deleting any and all postings

currently in place on the Instagram and TikTok accounts bearing the handle @bangenergy.ceo and

the Twitter account bearing the handle @BangEnergyCEO (collectively the “CEO Accounts”);

         2.    The Defendants are prohibited from posting any content or making any posts of

any kind to or from the CEO Accounts until forty-five (45) days from the date the Court enters an

order approving this Stipulation;

         3.    If the Debtors wish to post on the CEO Accounts concerning the Debtors’ products,



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and such posts do not reference the Defendants, then Defendants will make such posts within nine

(9) business hours of receiving the Debtors’ request to do so;

         4.     The Parties will negotiate in good faith a briefing schedule on motions for summary

judgment to be filed by the Debtors and/or Defendants that will facilitate a summary judgment

hearing within 30 days of the filing of the Debtors’ summary judgment motion and include

expedited discovery to facilitate such a hearing;

         5.     By 5:00 p.m (ET) on March 16, 2023, Defendants shall provide to the Court, under

seal, all passwords to the CEO Accounts, and Defendants are prohibited from any further changes

to the passwords to the CEO Accounts pending further order of the Court;

         6.     In the event of an alleged violation of this Stipulation and order approving this

Stipulation, the Parties stipulate and agree that 24 hours’ notice of a hearing to address such alleged

violation shall be sufficient;

         7.     All rights of the Parties to seek or oppose further any relief in the Adversary

Proceeding are expressly reserved.

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 Dated: March 16, 2023                                Dated: March 16, 2023

 Stipulated and agreed to by:                         Stipulated and agreed to by:

 /s/ Jordi Guso                                       /s/ Justin M. Luna
 Jordi Guso                                           Justin M. Luna
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 Michael J. Niles                                     LATHAM, LUNA, EDEN &
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                                                      Owoc and Megan E. Owoc
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